             Case 1:04-cr-05278-DAD Document 322 Filed 11/09/06 Page 1 of 1


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                      IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,      ) 1:04-CR-05278 OWW
                                    )
12                  Plaintiff,      ) ORDER TO CONTINUE
                                    ) SENTENCING HEARING AND
13                                  ) GOVERNMENT’S RESPONSIVE DATE
               v.                   )
14                                  )
     IGNACIO SOTO HINOJOSA, et al., )   Date: November 14, 2006
15                                  )   Time: 9:00 a.m.
                    Defendants.     )   Courtroom 3
16   _______________________________)
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          IT IS SO ORDERED THAT the date for the sentencing hearing of
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     defendants, IGNACIO SOTO HINOJOSA and CONRADO SOTO HINOJOSA, be
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     continued from to November 14, 2006 at 9:00 a.m. to December 14,
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     2006, and that the government’s response to defendants’
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     objections to the presentencing report be due on November 30,
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     2006.
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                                   IT IS SO ORDERED.
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     Dated: November 9, 2006                 /s/ Oliver W. Wanger
26   emm0d6                             UNITED STATES DISTRICT JUDGE
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